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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


    APRIL LASTER,

                       Plaintiff,

    v.                                               Case No: 6:24-cv-1575-JSS-LHP

    SPACE COAST CREDIT UNION,

                       Defendant




                                          ORDER
          This cause came on for consideration without oral argument on the following

    motion filed herein:

          MOTION: PLAINTIFF’S APRIL LASTER MOTION TO
                  COMPEL ARBITRATION (Doc. No. 15)

          FILED:       January 3, 2025



          THEREON it is ORDERED that the motion is DENIED.

          On October 17, 2024, this case was dismissed and closed, and Plaintiff has not

    filed a motion to reopen establishing good cause or submitting the documents

    required by the Court’s October 17, 2024 Order. See Doc. No. 13; see also Doc. No.

    10. Accordingly, there is no open case in which Plaintiff may move to compel
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    arbitration.   See id.   Moreover, even if the motion to compel arbitration were

    proper, it fails to comply with Local Rule 3.01(g). Doc. No. 15. Accordingly, the

    motion (Doc. No. 15) is DENIED.

          DONE and ORDERED in Orlando, Florida on January 3, 2025.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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